UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF TENNESSEE
NASHVILLE DIVISION
UNITED STATES OF AMERICA )
)
v. ) Case No. 3:11-00020 Le: Lb
)
)

Senior Judge Haynes
AUSTIN MICHAEL EVANS

MOTION TO CONTINUE HEARING ON REPORT ON or nT

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OFFENDER UNDER SUPERVISION 0A Neeveeb?
COMES NOW the Defendant, Austin Michael Evans, by and through his undersigned F, 20 1S

counsel, and respectfully requests that this Honorable Court enter an Order continuing the at ¢ 07°

hearing on a Report on Offender Under Supervision from Monday, February 22, 2016 at a Le

p.m., to a later date convenient to the Court and counsel. In support hereof, Defendant states as
follows:

1. On February 12, 2016, the Court entered an order setting a hearing on a Report on
Offender Under Supervision for Monday, February 22, 2016 at 3:00 p.m. (Docket Entry 154).
This is the first setting for a hearing in this supervision matter.

2. Undersigned counsel has an evidentiary hearing in State v. Wendy Askins, Putnam
County Criminal Action No. 13-0074, in Cookeville, Tennessee, today. The time for the hearing
in the Askins case has been moved to 10:30 a.m. Putnam County is located in the Thirteenth
Judicial District and the district operates on terms of court. This means that dockets in the
respective counties which comprise the district are particularly heavy when court is periodically
in session. Undersigned counsel is unable to predict if the hearing will begin promptly at 10:30
a.m. or will be moved to a time later in the day which will obviously conflict with the setting of

the Evans matter in this Court.

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